Case 2:03-CV-02568-BBD-tmp Document 307 Filed 07/26/05 Page 1 of 4 Page|D 33§§/

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CHARLENE SPINKS,
Plaintiff,
civ. No. 03-2563-D P v///

VS.

HOME TECH SERVICES CO., INC.,
et al.,

Defendants.

 

BOBBIE CARR,
Plaintiff,
Civ. NO. 03-2569-D[P

'VB.

HOME TECH SERVICES CO., INC.,
et al.,

Defendants.

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ORDER DENYING WITHOUT PREJUDICE PLAINTIFFS' MOTIONS FOR
PROTECTIVE ORDER

 

Before the court are plaintiffs Bobbie Carr and Charlene
Spinks's Motions for Protective Order, filed June 21, 2005 (dkt
##297 and 353). On July 8, 2005, defendant NovaStar Mortgage, Inc.
filed its response, in which it stated that plaintiffs did not
comply in good faith with this court's consultation requirement.
Based on the record, the court finds that the plaintiffs have -ot

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with F\ule 58 and/or 79(3) FRCP on

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adequately consulted with defendant's counsel prior to filing their
motions for protective order. See Haves v. Home Tech Services, No.
05-2019 Ma/V (W.D. Tenn. 2005)(July 12, 2005 order denying without
prejudice plaintiffs' motion for protective order). Therefore, the
motions are DENIED without prejudice.

IT IS SO ORDERED.

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United States Magistrate Judge

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Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 307 in
case 2:03-CV-02568 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

